     Case 3:16-cv-01882-AJB-KSC Document 51 Filed 02/01/18 PageID.776 Page 1 of 2




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 8                      UNITED STATES DISTRICT COURT
 9                    SOUTHERN DISTRICT OF CALIFORNIA
10   SARAH MENDEZ, on behalf of herself,      Case No.: 3:16-CV-01882-AJB-KSC
11   and all others similarly situated,
                                              CLASS ACTION
12                     Plaintiff,
                                              ORDER GRANTING JOINT
13         v.                                 MOTION FOR DISMISSAL OF
14                                            PLAINTIFF’S CASE PURSUANT
     OPTIO SOLUTIONS, LLC, dba                TO FED. R. CIV. P. 41(a)(1)(A)
15   QUALIA COLLECTION SERVICES
16
                       Defendant.
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       Mendez v. Optio Solutions, LLC, dba Qualia Collection Services, No. 16-cv-1882
                                            Order Granting Joint Motion for Dismissal
     Case 3:16-cv-01882-AJB-KSC Document 51 Filed 02/01/18 PageID.777 Page 2 of 2




 1         Having read and considered the Joint Motion for Dismissal filed by Plaintiff Sarah
 2   Mendez and Defendant Optio Solutions, LLC dba Qualia Collection Service, the Court
 3   grants the Parties’ Joint Motion for Dismissal. This action will be, and is dismissed
 4   WITH PREJUDICE as to all individual claims asserted by Plaintiff against Defendant,
 5   and WITHOUT PREJUDICE as to the class action claims asserted in the lawsuit pursuant
 6
     to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).
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           Each party to bear their own costs and fees.
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           IT IS SO ORDERED.
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     Dated: February 1, 2018
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                                Nguyen v. Capital Management Services, L.P., No. 16cv2366
                                           ORDER GRANTING JOINT MOTION FOR DISMISSAL
